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       Exhibit F
                       Case 1:19-cr-00395-BAH Document 16-6 Filed 03/09/20 Page 2 of 2
ip :


subreddit : DarkNetMarkets


gildings : 0


link : https://www.reddit.com/r/DarkNetMarkets/comments/23nmku/rci_mods_le/


parent :


body : Did I miss something, what funky shit has been going on?


id : chlxrei


permalink : https://www.reddit.com/r/IFfmbHfnpaZjKFvyi1okT/comments/25rr6h/new_product/chlxrei/


date : 2014-05-19 18:20:00 UTC


ip :


subreddit : IFfmbHfnpaZjKFvyi1okT


gildings : 0


link : https://www.reddit.com/r/IFfmbHfnpaZjKFvyi1okT/comments/25rr6h/new_product/


parent : chlx8th


body : You may be right, but new products are going to come out and want to advertise with grams, I can't test every product and I can't turn away people based on speculation. If there was one

report of people not getting their product I would take them down and disavow them immediately. It is also not fair to them for me to just call them a scammer with no proof and ban them from

buying advertising. Their week of advertising is almost up. I wont let them buy another week without a confirmed review from someone reliable.


id : cgrsmf3


permalink : https://www.reddit.com/r/DarkNetMarkets/comments/22yx99/grams_beta_version/cgrsmf3/


date : 2014-04-14 03:05:18 UTC


ip :


subreddit : DarkNetMarkets


gildings : 0


link : https://www.reddit.com/r/DarkNetMarkets/comments/22yx99/grams_beta_version/


parent : cgrsdc9


body : I have been talking to outlaw, silkroad2, cloud nine. They all said they want on grams and are either going to use my api or give me some of their own. I consider them with agora which is

already on there to be the majors . I could be wrong. I haven't been to a lot of the other markets. if there is a strong demand for a market and they are not on there I will make sure we add them.


id : chcieco


permalink : https://www.reddit.com/r/IFfmbHfnpaZjKFvyi1okT/comments/250fqr/usability_question/chcieco/


date : 2014-05-08 05:22:17 UTC


ip :


subreddit : IFfmbHfnpaZjKFvyi1okT


gildings : 0


link : https://www.reddit.com/r/IFfmbHfnpaZjKFvyi1okT/comments/250fqr/usability_question/


parent : chcib3f


body : yeah I just wanted to make sure, because I know some markets have the whole message pin system going on and I don't want to use that but I want it to be secure. so I am hoping the pgp

method makes it secure enough while also being easy enough.


id : ciegr29


permalink : https://www.reddit.com/r/DarkNetMarkets/comments/28tjk7/flaxcseed_contact_info/ciegr29/
